Case 1:17-cv-01151-GMS Document 68 Filed 06/05/18 Page 1 of 2 PageID #: 399



                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF DELAWARE

SUZANNE DAKESSIAN,           :             CASE NO. 1:17-CV-01151 GMS
                             :
         Plaintiff,          :
                             :
     v.                      :
                             :
WILLIAM SCHELL, IV;          :             JURY TRIAL DEMANDED
DOMINICK DAFFNER; WORLD :
CHAMPIONSHIP PUNKIN'         :
CHUNKIN' INC.; PUNKIN        :
CHUNKIN ASSOCIATION; FRANK:
PAYTON; FRANK SHADE; TERRY:
BREWSTER; DAVID QUIGLEY; :
MCCULLEY, EASTHAM &          :
ASSOCIATES, INC.; WHEATLEY :
FARMS, INC.; E. DALE         :
WHEATLEY; JEFFREY T.         :
WHEATLEY; DISCOVERY          :
COMMUNICATIONS, INC.; STATE:
OF DELAWARE and the STATE OF :
DELAWARE (DEPARTMENT OF :
NATURAL RESOURCES AND        :
ENVIRONMENTAL CONTROL,       :
                             :
         Defendants.         :

            NOTICE OF VIDEO DEPOSITION OF PLAINTIFF,
                      SUZANNE DAKESSIAN

      PLEASE TAKE NOTICE that the undersigned attorney will take the

videotaped deposition of Plaintiff, Suzanne Dakessian, on Wednesday, June 6,

2018 beginning at 9 a.m. in the offices of Marshall Dennehey Warner Coleman &
 Case 1:17-cv-01151-GMS Document 68 Filed 06/05/18 Page 2 of 2 PageID #: 400



Goggin, Nemours Building, 1007 N. Orange Street, Suite 600, Wilmington, DE

19801.

                                   MARSHALL DENNEHEY WARNER
                                    COLEMAN & GOGGIN

Date: June 5, 2018                       /s/ Kevin J. Connors
                                   Kevin J. Connors, Esq. (DE Bar ID 2135)
                                   Nemours Building
                                   1007 N. Orange Street, Suite 600
                                   P.O. Box 8888
                                   Wilmington, DE 19899
                                   T. 302-552-4302
                                   Email: kjconnors@mdwcg.com
                                   Attorney for Defendants,
                                   World Championship Punkin' Chunkin, Inc.,
                                   Punkin Chunkin Association, Frank Payton,
                                   Frank Shade, Terry Brewster and David
                                   Quigley


LEGAL/116682923.v1
